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 4
      Attorney for Defendant
 5    JASON THOMAS
 6
 7
 8
                    UNITED STATES DISTRICT COURT NORTHERN DISTRICT
 9
                            OF CALIFORNIA SAN FRANCISCO DIVISION
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13
      UNITED STATES OF AMERICA,                       )        CASE NO. 06-0266
14                                                    )
                     Plaintiff,                       )        ORDER TO MODIFY CONDITION
15                                                    )        OF RELEASE AND ORDER
              vs.                                     )
16                                                    )
      JASON THOMAS,                                   )
17                                                    )
                     Defendant.                       )
18                                                    )
19
               GOOD CAUSE APPEARING IT IS HEREBY ORDERED THAT the previous
20
      conditions of release in this case be modified to include regular and emergency travel throughout
21
      the state of California with the stipulation and condition that he notify Pretrial Services Officer
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      Mr. Paul Mamaril by telephone before leaving his current restricted area of travel.
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25                                                                                 DERED
                                                          UNIT




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       DATED: 5/17/06                         _____________________________________________
27                                            UNITED STATES DISTRICT COURT             MAGISTRATE
                                                                              s Larson
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     ORDER TO MODIFY CONDITION OF RELEASE AND ORDER                         D IS T IC T   OF
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